   Case 21-30589-MBK              Doc 2389      Filed 06/01/22 Entered 06/01/22 13:03:04              Desc Main
                                              Document      Page 1 of 8

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                             Order Filed on June 1, 2022
                                                                             by Clerk
                                                                             U.S. Bankruptcy Court
                                                                             District of New Jersey




 In Re:                                                      Case No.:                  21-30589
                                                                                  ____________________

 LTL MANAGEMENT, LLC,                                        Chapter:                      11
                                                                                  ____________________

                                                             Hearing Date:        ____________________

                                                             Judge:                  Michael Kaplan
                                                                                  ____________________




       FINAL ORDER AUTHORIZING RETENTION OF THE BRATTLE GROUP, INC.
                                   AS

              CLAIMS ECONOMIST TO THE OFFICIAL COMMITTEE OF TALC
                                  CLAIMANTS

      The relief set forth on the following pages is ORDERED.




DATED: June 1, 2022
Case 21-30589-MBK      Doc 2389     Filed 06/01/22 Entered 06/01/22 13:03:04       Desc Main
                                  Document      Page 2 of 8



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

  GENOVA BURNS LLC                               BROWN RUDNICK LLP
  Daniel M. Stolz, Esq.                          David J. Molton, Esq.
  Donald W. Clarke, Esq.                         Robert J. Stark, Esq.
  Matthew I.W. Baker, Esq.                       Michael Winograd, Esq.
  dstolz@genovaburns.com                         Jeffrey L. Jonas, Esq.
  dclarke@genovaburns.com                        dmolton@brownrudnick.com
  mbaker@genovaburns.com                         rstark@brownrudnick.com
  110 Allen Road, Suite 304                      mwinograd@brownrudnick.com
  Basking Ridge, NJ 07920                        jjonas@brownrudnick.com
  Tel: (973) 467-2700                            Seven Times Square
  Fax: (973) 467-8126                            New York, NY 10036
  Local Counsel to the Official Talc Claimants   Tel: (212) 209-4800
  Committee                                      Fax: (212) 209-4801

                                                 and

                                                 Sunni P. Beville, Esq.
                                                 sbeville@brownrudnick.com
                                                 One Financial Center
                                                 Boston, MA 02111
                                                 Tel: (617) 856-8200
                                                 Fax: (617) 856-8201
                                                 Co-Counsel for the Official Talc Claimants
                                                 Committee
  BAILEY GLASSER LLP                             OTTERBOURG PC
  Brian A. Glasser, Esq.                         Melanie L. Cyganowski, Esq.
  Thomas B. Bennett, Esq.                        Adam C. Silverstein, Esq.
  bglasser@baileyglasser.com                     Jennifer S. Feeney, Esq.
  tbennett@baileyglasser.com                     mcyganowski@otterbourg.com
  105 Thomas Jefferson St. NW, Suite 540         asilverstein@otterbourg.com
  Washington, DC 20007                           jfeeney@otterbourg.com
  Tel: (202) 463-2101                            230 Park Avenue
  Fax: (202) 463-2103                            New York, NY 10169
  Co-Counsel for the Official Talc Claimants     Tel: (212) 905-3628
  Committee                                      Fax: (212) 682-6104
                                                 Co-Counsel for the Official Talc Claimants
                                                 Committee




 #16552522v1 (24987.001)
Case 21-30589-MBK          Doc 2389      Filed 06/01/22 Entered 06/01/22 13:03:04       Desc Main
                                       Document      Page 3 of 8




  In re:
                                                          Chapter 11
  LTL MANAGEMENT, LLC,
                                                          Case No.: 21-30589(MBK)
                                   Debtor.
                                                          Honorable Michael B. Kaplan



      FINAL ORDER AUTHORIZING RETENTION OF THE BRATTLE GROUP, INC. AS
      CLAIMS ECONOMIST TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS


           The relief set forth on the following page is ORDERED.




 #16552522v1 (24987.001)
Case 21-30589-MBK            Doc 2389     Filed 06/01/22 Entered 06/01/22 13:03:04                   Desc Main
                                        Document      Page 4 of 8




         This Court, having considered: (i) the Application for Retention of The Brattle Group, Inc. as Talc
 Consultants for the Official Committee of Talc Claimants I (the “Application”) [Dkt No. 1289]; (ii) the
 Certification of Yvette Austin Smith in Support of Application for Retention of The Brattle Group, Inc. as
 Talc Consultants to the Official Committee of Talc Claimants I (the “Austin Smith Certification”) [Dkt No.
 1289-1]; (iii) the Supplemental Certification of Yvette Austin Smith in Support of Application for Retention
 of The Brattle Group, Inc. as Talc Consultants to the Official Committee of Talc Claimants I (the
 “Supplemental Austin Smith Certification”) [Dkt No. 1466]; (iii) the Second Supplemental Certification of
 Yvette Austin Smith in Support of Application for Retention of The Brattle Group, Inc. as Talc Consultants
 to the Official Committee of Talc Claimants I (the “Second Supplemental Austin Smith Certification”) [Dkt
 No. 2331]; (iv) the Debtors’ Supplemental Omnibus Objection to Applications of the Official Committee of
 Talc Claimants to retain (I) Houlihan Lokey Capital, Inc. as Investment Banker, (II) FTI Consulting, Inc.
 as Financial Advisor and (III) the Brattle Group, Inc. as Talc Consultants [Dkt. No. 2313] (the
 “Objection”); and the Court having previously entered its Amended Interim Order Authorizing Retention of
 The Brattle Group, Inc. as Talc Consultants to the Official Committee of Talc Claimants I [Dkt No. 2124];
 and for the reasons set forth on the record at the hearing conducted May 24, 2022; and the Court is of the
 opinion that The Brattle Group, Inc. (“Brattle”) does not hold or represent any interest adverse to the estates,
 that Brattle is a disinterested person within the definition of 11 U.S.C. § 101(14), and that Brattle’s
 employment is in the best interest of the Official Committee of Talc Claimants (the “TCC”); and that no
 further hearing on the Application is required. Upon the applicant’s request for authorization to retain
 Brattle as Claims Economist to TCC, it is hereby ORDERED:

 1.      Any objections to the retention of Brattle are overruled, and the Application is GRANTED on a
 final basis as set forth herein.


 2.      Pursuant to sections 328(a) and 1103 of the Bankruptcy Code, Rule 2014 of the Federal Rules of
 Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1 of the Local Rules of Bankruptcy Practice
 and Procedure of the United States Bankruptcy Court for the District of New Jersey (the “Local Rules”),
 the Official Committee of Talc Claimants (the “Talc Committee”) (for the period from December 13, 2021
 through December 23, 2021, and from and after April 12, 2022) and the Official Committee of Talc
 Claimants I (“TCC I,” and together with the Talc Committee, as applicable, the “Committee”) (for the
 period from December 24, 2021 through April 11, 2022) are authorized and empowered to employ and
 retain, and the Debtor is authorized to compensate and reimburse, Brattle during the respective noted
 periods, in the above-captioned chapter 11 case upon the terms and conditions set forth in the Application,



 #16552522v1 (24987.001)
Case 21-30589-MBK            Doc 2389     Filed 06/01/22 Entered 06/01/22 13:03:04                    Desc Main
                                        Document      Page 5 of 8


 except as may be modified herein. For the avoidance of doubt, since the reinstatement of the Talc
 Committee on April 12, 2022, the Talc Committee has renewed its retention of Brattle as its Claims
 Economist to perform the services provided herein.


 3.      The effective date of retention is January 28, 2022.

 4.      The compensation provisions of the Engagement Letter are hereby approved on a final basis. Brattle
 shall file monthly fee statements, interim fee applications and final fee applications for allowance of its
 compensation and expenses in accordance with the procedures set forth in sections 330 and 331 of the
 Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, the Compensation Guidelines and
 any applicable orders of the Court. Brattle is entitled to reimbursement of actual and necessary expenses,
 including legal fees related to the retention application and future fee applications as approved by this Court.

 5.      Brattle shall keep its time records in tenth-of-an-hour increments in accordance with Local Rule
 2016-2 of this Court and shall otherwise comply with the requirements of that Local Rule, as well as
 Bankruptcy Rule 2016(a), and the United States Trustee Fee Guidelines.

 6.      Brattle shall apply for compensation in accordance with the procedures set forth in the applicable
 provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rules, this Final Order and any applicable
 orders of this Court. Brattle’s services are subject to the standard of review set forth in section 330 of the
 Bankruptcy Code. The rights of any party in interest to object to any such request for compensation and
 reimbursement of actual and necessary expenses, including on the basis that services provided are
 duplicative or do not benefit the estate, and the right of Brattle to respond to any such objection, are fully
 preserved.

 7.      The TCC and Brattle are authorized and empowered to take all actions necessary to implement the
 relief granted in this final order.



 8.      The indemnification and limitation of liability provisions set forth in the Engagement Letter, are
 approved, on a final basis, subject to the following provisions during the pendency of this case:


         a. Brattle shall not be entitled to indemnification, contribution or reimbursement from the Debtor
              or the estate pursuant to the Engagement Letter for services, unless such services and the
              indemnification, contribution or reimbursement thereof are approved by this Court;
         b. Notwithstanding any provision of the Engagement Letter to the contrary, the Debtor and the
              estate shall have no obligation to indemnify Brattle, or provide contribution or reimbursement


 #16552522v1 (24987.001)
Case 21-30589-MBK            Doc 2389      Filed 06/01/22 Entered 06/01/22 13:03:04                    Desc Main
                                         Document      Page 6 of 8


               to Brattle, for any claim or expense that is either (i) judicially determined (the determination
               having become final) to have arisen from Brattle’s fraud, bad faith, gross negligence, willful
               misconduct or self-dealing to which the Debtor or the estate has not consented, (ii) for a
               contractual dispute in which the Debtor or the estate alleges the breach of Brattle’s contractual
               obligations or obligations to maintain the confidentiality of non-public information, unless the
               Court determines that indemnification, contribution, or reimbursement would be permissible
               pursuant to In re United Artists Theatre Co., 315 F.3d 217 (3d Cir. 2003), or (iii) settled without
               the Debtor’s or the estate’s consent prior to a judicial determination as to the exclusions set
               forth in clauses (i) and (ii) above, but determined by this Court, after notice and a hearing to be
               a claim or expense for which Brattle is not entitled to receive indemnity, contribution, or
               reimbursement under the terms of the Engagement Letter as modified by this Interim Order;
               and
           c. If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in this case (that
               order having become a final order no longer subject to appeal), and (ii) the entry of an order
               closing this chapter 11 case, Brattle believes that it is entitled to the payment of any amounts
               by the Debtor or the estate on account of the Debtor’s or the estate’s indemnification,
               contribution and/or reimbursement obligations under the Engagement Letter (as modified by
               this Interim Order), including, without limitation, the advancement of defense costs, Brattle
               must file an application therefor in this Court, and the Debtor and the estate may not pay any
               such amounts to Brattle before the entry of an order by this Court approving the payment. This
               subparagraph (c) is intended only to specify the period during which the Court shall have
               jurisdiction over any request for fees and expenses by Brattle for indemnification, contribution,
               or reimbursement, and not as a provision limiting the duration of the Debtor’s or the estate’s
               obligation to indemnify, or make contributions or reimbursements to, Brattle. All parties in
               interest shall retain the right to object to any demand by Brattle for indemnification,
               contribution and/or reimbursement.


 9.        Notwithstanding any provision in the Engagement Letter to the contrary, any limitation of liability
 provisions in the Application, Austin Smith Certification, or the Engagement Letter shall have no force or
 effect.


 10.       The terms and conditions of this Order shall be immediately effective and enforceable upon its
 entry, notwithstanding the possible applicability of Bankruptcy Rule 6004, 7062, or 9014.




 #16552522v1 (24987.001)
Case 21-30589-MBK          Doc 2389       Filed 06/01/22 Entered 06/01/22 13:03:04                  Desc Main
                                        Document      Page 7 of 8


 11.      The professional’s address is:
                   7 Times Square
                   Suite 1700
                   New York, NY 10036


 12.      No fees shall be nonrefundable or earned upon receipt in consideration of Brattle’s acceptance of
 the engagement, except by Order of the Court.

 13.      Brattle is entitled to reimbursement by the Debtor for reasonable expenses incurred in this Chapter
 11 Case subject to the terms and conditions set forth in the Engagement Letter and as provided by this
 Order.

 14.      In the event Brattle seeks to use any of its affiliates to perform services for the Committee and
 intends to seek compensation for such services, the Committee shall seek the separate retention of any such
 affiliates.

 15.      Notwithstanding anything to the contrary in the Application or Certifications, the services to be
 provided by Brattle shall be with respect to OC Claims only (as defined in the Second Supplemental Austin
 Smith Certification) and not claims arising from diagnoses of mesothelioma. Any additional services
 provided by Brattle which were not provided for in the Application or the Certifications shall require further
 Court approval.

 16.      To the extent that there may be any inconsistency between the terms of the Application, the
 Certifications, the Engagement Letter, and this final Order, the terms of this final Order shall govern.

 17.      In accordance with the Compensation Guidelines, Brattle shall not seek reimbursement of any fees
 or costs, including attorney fees and costs, arising from the defense of any of Brattle's fee applications in
 this case.

 18.      Notwithstanding anything to the contrary in the Application or the Austin Smith Certification,
 Brattle will only bill 50% for non-working travel.

 19.      In order to avoid duplication of services with those performed by Brattle or other professionals
 retained by the Talc Committee, the following system shall be implemented to determine the distribution
 of work relating to the bankruptcy case and related proceedings. First, a small group of senior professionals
 at FTI, Brattle and Houlihan shall confer to determine work strategy and tasks, in consultation with the Talc
 Committee’s counsel and the Talc Committee members. Second, FTI, Brattle and Houlihan will coordinate



 #16552522v1 (24987.001)
Case 21-30589-MBK          Doc 2389      Filed 06/01/22 Entered 06/01/22 13:03:04                  Desc Main
                                       Document      Page 8 of 8


 responsibility for completing any applicable task. Third, to the extent any non-proprietary work product
 related to a task is relevant to the other’s work or advice for the Talc Committee, such non-proprietary work
 product shall be shared with FTI, Brattle or Houlihan, as applicable, so that both FTI, Brattle or Houlihan
 have the benefit of the other’s relevant analysis and work product; provided, however, that FTI, Brattle and
 Houlihan shall not be required to share any proprietary work product, such as models and methodologies,
 and other protected intellectual property.




 #16552522v1 (24987.001)
